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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                 CRIMINAL ACTION

v.                                                        NO. 09-166

TODD DAGGS                                                SECTION “F”


                            ORDER AND REASONS

        Before the Court is Todd Daggs’s pro se motion for a sentence

reduction under the First Step Act. For the reasons that follow,

the motion is DENIED.

                                 Background

         After a trial by jury, Todd Daggs was convicted of multiple

offenses: drug trafficking conspiracy (Count 1); two separate

possessions of firearms in furtherance of a drug trafficking crime

(Counts 3 and 5); two separate possessions of small quantities of

drugs with the intent to distribute (Counts 4 and 6); and being a

felon in possession of a firearm (Count 2). Given Daggs’s two prior

convictions for felony drug offenses, on December 1, 2010, then-

District Judge Engelhardt sentenced Daggs to mandatory life in

prison for Count 1; 120 months for Count 2; 188 months for Counts

4 and 6; 60 months for Count 3; and a mandatory 300 months for

Count 5. The sentences for Counts 1, 2, 4, and 6 are concurrent

while the sentences imposed for Counts 3 and 5 are consecutive.

Daggs    appealed,   but   the   Fifth   Circuit   affirmed   the   Court’s

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judgment.    Daggs petitioned for habeas relief, but the motion was

denied.     As was his motion seeking relief from judgment.              Daggs

now seeks relief under the First Step Act. 1

                                   I.

                                   A.

     The Court broadly construes Daggs’s motion as one seeking a

sentence reduction under both Sections 401 and 403 of the First

Step Act.    But neither provision applies retroactively to afford

Daggs relief.

     The First Step Act effectuated criminal justice reforms and

was signed into law on December 21, 2018. Daggs invokes two

provisions of the Act which he submits should apply to decrease

his sentence on certain offenses.               No matter if the amended

provisions would reduce his sentence on certain offenses, the

government    counters,   Daggs   is       ineligible   for   relief   because




1  Daggs initially wrote to this Court inquiring about his
eligibility for relief under the First Step Act and the issue of
Daggs’s eligibility for relief was referred to the Court’s First
Step Act Committee for investigation and recommendation. The
Committee reviewed Daggs’s letter and determined that he was not
eligible for a reduction of sentence under Section 404 of the First
Step Act (and that any request for relief under other Sections of
the Act exceeded the scope of the Committee’s review, which is
limited to considering motions seeking relief under Section 404 of
the First Step Act). Thereafter, the Court ordered briefing from
the government concerning its position regarding whether Daggs was
eligible for relief under Section 403 of the First Step Act.


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neither     provision    invoked     applies    retroactively.          The    Court

agrees.

       Section 401 of the Act amended the recidivist penalties of 21

U.S.C. § 841(b)(1)(A) by now requiring the predicate offenses

triggering     a   sentence      enhancement    to    be   either    serious     drug

felonies or serious violent felonies (as opposed to a felony drug

offenses).      See United States v. Gomez, 960 F.3d 173, 176 (5th

Cir.    2020)(citation     omitted).         Section   401    also     reduced   the

mandatory life imprisonment sentence to a mandatory minimum of 25

years in prison.        See 21 U.S.C. § 841(b)(1)(A).

       Section 403 of the Act amended 18 U.S.C. § 924(c)(1)(C)(i),

which governs the mandatory minimum sentence for certain repeat

firearm offenses to reduce the severity of “stacked” charges: under

Section     403,   contemporaneous      §    924(c)    convictions      no    longer

trigger a 25-year mandatory minimum sentence.                Gomez, 960 F.3d at

176.     Instead, after the revision, the 25-year mandatory minimum

sentence for repeat firearm offenses is triggered only when a

repeat conviction occurs after a prior conviction is final. Id.

                                        B.

       With respect to Section 401, the government does not dispute

that: Daggs’s life sentence was imposed due to his recidivist drug

history (see 21 U.S.C. § 841(b)(1)(A)(2010); § 851); that Section

401 of the First Step Act amended the recidivist provision of §

841(b)(1)(A);      and    that    Daggs’s    predicate       offense    of    simple

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possession of cocaine does not qualify as a serious drug felony. 2

In other words, the government does not dispute that -- if Daggs

had been sentenced after the First Step Act was enacted -- he would

not face a mandatory life sentence.

     With respect to Section 403, the government does not dispute

that: Daggs’s contemporaneous convictions for § 924(c)(1) offenses

(charged   in   the   same   superseding   indictment)   resulted   in    an

additional 25 years in prison for the second possession of a

firearm in furtherance of a drug trafficking crime of conviction

(see 18 U.S.C. § 924(c)(1)(C)(i)); and that Section 403 amended §

924(c)(1)(C)(i) to trigger a 25-year mandatory minimum sentence

for a second § 924(c)(1) offense only if the second offense is not

part of the same prosecution (only if the defendant was convicted

of a § 924(c)(1) offense in a prior separate prosecution).                In

other words -- if Daggs had been sentenced after the First Step

Act was enacted -- a stacked 25-year mandatory minimum imposed for

the second § 924(c)(1) offense could not have been imposed.              But

Daggs was sentenced well before the First Step Act’s enactment and

Congress forbids him from availing himself of the forward-looking

reforms codified in Sections 401 and 403.




2 A “serious drug felony,” the government submits, “is much
narrower” than a “felony drug offense.”  Compare 21 U.S.C. §
802(57) with 21 U.S.C. § 802(44).
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                                        C.

       Sections 401 and 403 apply only prospectively; the text of

each provision plainly states that they do not apply retroactively.

See First Step Act § 401(c)(applies “to any offense that was

committed before the date of enactment of [the First Step] Act, if

a sentence for the offense has not been imposed as of such date of

enactment.”); First Step Act § 403(b)(same).                  The Fifth Circuit

has confirmed that the plain text of the Act controls as written:

neither Section 401 nor Section 403 apply retroactively.                      See

United     States   v.    Staggers,    961    F.3d   745,   754-55    (5th    Cir.

2020)(defendants sentenced to mandatory minimum life imprisonment

before First Step Act’s enactment did not benefit from Section

401);     Gomez,    960   F.3d   at   177    (Section   403    does   not    apply

retroactively to defendants whose cases were pending on direct

appeal on the Act’s effective date); see also United States v.

Foster, No. 16-192, 2020 WL 6196016 (E.D. La. Oct. 22, 2020);

United States v. Burkhalter, Ca. No. 07-408, 2020 WL 527948, at *2

(E.D. La. Feb. 3, 2020).

       Here, Daggs was sentenced on December 1, 2010, more than 8

years before the First Step Act was enacted.                    Because neither

Section 401 nor 403 apply retroactively to offenses committed

before December 21, 2018, the Act does not apply to reduce the

sentence imposed on Daggs for offenses committed more than 10 years

ago.

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     Accordingly, IT IS ORDERED: that Daggs’s pro se motion for a

sentence reduction is DENIED.

                           New Orleans, Louisiana, November 9, 2020


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                                       MARTIN L. C. FELDMAN
                                   UNITED STATES DISTRICT JUDGE




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